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March 26, 2025

VIA ECF

Christopher G. Conway
Office of the Clerk
United States Court of Appeals for the Seventh Circuit
Everett McKinley Dirksen United States Courthouse
219 S. Dearborn Street
Room 2722
Chicago, IL 60604

Re:      Johnson v. Amazon.com Services LLC, No. 24-1028
         Response to Citation of Supplemental Authority Under
         Rule 28(j)

Dear Mr. Conway:

Plaintiffs-Appellants’ citation of Del Rio v. Amazon.com.dedc, LLC, —
F.4th —, 2025 WL 826426 (2d Cir. Mar. 17, 2025), actually undermines
their arguments. Yes, the Second Circuit resorted to the “exceptional
procedure” of certifying questions related to whether Connecticut wage
law incorporates the federal Portal-to-Portal Act exclusions. Id. at *3.
But it did so because Connecticut law “is so uncertain that we can make
no reasonable prediction” on how the state would decide the issue. Id. No
such uncertainty exists in Illinois. See Def. Br. 12-25.

Start with the contrasting regulations. In each state, a provision defines
compensable “hours worked.” In Connecticut, “no part of the provision
indicates that ‘hours worked’ is to be interpreted in the context of the
FLSA, as amended by the PTPA.” Id. at *4. But here, the opposite is true.
The IMWL regulations instruct that the FLSA, as amended, is to be used
“[f ]or guidance in the interpretation of the Act and this Part.” Ill. Admin.



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Code tit. 56, § 210.120. “[T]his Part” refers to Part 210, which includes
the Illinois “hours worked” definition. Ill. Admin. Code tit. 56, § 210.110.

The caselaw in each jurisdiction is similarly contrasting. Connecticut
appellate decisions inconsistently “look to federal law in some
circumstances but not others.” Del Rio, 2025 WL 826426, at *5. But in
Illinois, a long and unbroken line of appellate decisions interpret the
IMWL in harmony with the FLSA when the IMWL does not specifically
address an issue. See Def. Br. 13-16. Most recently, the Illinois Supreme
Court confirmed the presumption of harmony between the statutes,
absent an express indication that the IMWL intended “to have a different
meaning.” Mercado v. S&C Elec. Co., — N.E.3d —, 2025 WL 285291, at
*8 (Ill. 2025). This explains why there are eleven different decisions
applying the federal Portal-to-Portal exclusions to IMWL claims, and none
rejecting that approach. See Def. Br. 19-20.

Del Rio thus confirms that certification here would be unnecessary and
inappropriate because Illinois is not “so uncertain” on the proposed
question. 2025 WL 826426, at *3. The Court should affirm the district
court.

                                         Respectfully submitted,

                                         /s/ Michael E. Kenneally
                                         MICHAEL E. KENNEALLY

                                         Counsel for Defendant-Appellee
                                         Amazon.com Services LLC




cc: All Counsel of Record (via ECF)
